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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                         Case No. 19-25256-Civ-COOKE/GOODMAN

  ELECTRONIC RECEIPTS
  DELIVERY SYSTEMS, LLC,

         Plaintiff,

  vs.

  INTERNATIONAL RESTAURANT
  MANAGEMENT GROUP, INC.,

        Defendant.
  _______________________________/

            ORDER STAYING AND ADMINISTRATIVELY CLOSING CASE
         THIS MATTER comes before me on Defendant’s Unopposed Motion to Stay the
  proceeding, pending resolution of a related case by the same Plaintiff against the developer
  and distributor of the accused product alleged to be at issue here. See ECF No. 20. After
  reviewing the record, the Court agrees that a stay pending resolution of the related action
  would promote judicial and litigation efficiency, avoid inconsistent results, and would not
  prejudice Plaintiff.
         A district court has the authority to stay proceedings on its motion or on motion of
  the parties. See, e.g., Landis v. North Am. Water Works and Elec. Co., 299 U.S. 248, 254 (1936)
  (noting that federal courts have inherent authority to stay proceedings to conserve judicial
  resources and ensure that each matter is handled efficiently). To preserve judicial resources
  and ensure an efficient and just outcome, the Court STAYS this case until the related case,
  pending before a District Court in Ohio, is resolved. The parties will notify the Court within
  ten days of that Court issuing a decision. Until then, the Clerk will administratively CLOSE
  this matter. All pending motions, if any, are DENIED as moot.
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  DONE and ORDERED in chambers, at Miami, Florida, this 29th day of September 2020.




  Copies furnished to:
  Jonathan Goodman, U.S. Magistrate Judge
  Counsel of record
